Case: 1:14-cv-00068-MRB-MRM Doc #: 22 Filed: 04/22/16 Page: 1 of 32 PAGEID #: 1606




                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF OHIO
                    WESTERN DIVISION AT CINCINNATI

 RUBEN JORDAN,

                        Petitioner,               :   Case No. 1:14-cv-068

        - vs -                                        District Judge Michael R. Barrett
                                                      Magistrate Judge Michael R. Merz

 WARDEN, Lebanon Correctional
  Institution,
                                                  :
                        Respondent.


          SUPPLEMENTAL REPORT AND RECOMMENDATIONS


        This habeas corpus case is before the Court on Petitioner’s Objections (ECF No. 19) to

 the Magistrate Judge’s Report and Recommendations which recommended that the Petition be

 dismissed with prejudice (the “Report,” ECF No. 16). District Judge Barrett has recommitted the

 case for reconsideration in light of the Objections (ECF No. 20).

        Petitioner has filed thirteen separately-numbered Objections (Roman numerals I through

 XIII). Most of them are quite prolix and contain a number of sub-claims. For example,

 Objection III fills two-thirds of a page single-spaced and contains arguably five asserted errors in

 the Report. Because Fed. R. Civ. P. 72(b)(3) requires the District Judge to “determine de novo

 any part of the magistrate judge’s disposition that has been properly objected to,” this

 Supplemental Report must of necessity be quite detailed and considers the Objections seriatim.




                                                  1
Case: 1:14-cv-00068-MRB-MRM Doc #: 22 Filed: 04/22/16 Page: 2 of 32 PAGEID #: 1607




 Objection I:


                 The Report and Recommendations incorrectly concludes that
                 Petitioner Jordan did not point to specific facts as facts
                 unreasonably determined by the state courts.

 (Objections, ECF No. 19, PageID 1517.)


          Each of Jordan’s six Grounds for Relief begins with the statement “[t]he state courts

 unreasonably determined the facts. . . .” The Report noted that “Jordan’s counsel has devoted

 four pages of the Petition (PageID 26-29) to a Statement of Facts without attempting to show

 how the evidence recited there proves by clear and convincing evidence that the court of appeals

 made an unreasonable determination of any particular fact.” (Report, ECF No. 16, PageID

 1397.)

          Jordan objects that there are at least sixteen places in his Petition and fourteen places in

 his Traverse where he argued “how the courts unreasonably determined the facts.” (Objections,

 ECF No. 19, PageID 1526, citing Petition, ECF No. 1, PageID 25, 30, 32, 36, 42, 43, 44, 46, 49,

 50, 51, 54, 56, 59, 60, 61 and Traverse, ECF No. 14, PageID 1304, 1316, 1330, 1340, 1354,

 1355, 1365, 1375, 1379, 1381, 1382, 1383, 1384 and 1386.)

          Jordan’s counsel apparently misunderstands the Report on this point. While she has used

 the phrase “unreasonable determination of the facts” forty-three times in the Petition, Traverse,

 and Objections, at no point in her Statement of the Facts (ECF No. 1-1, PageID 26-29) does she

 relate what she says are the facts of the case to findings by the state courts and argue why the

 state courts were clearly wrong. Instead she gives her own narrative of the facts, supported by

 record references. This is what is meant by the language in the Report that the Statement of

 Facts does not attempt to show how the state court determinations were unreasonable.



                                                   2
Case: 1:14-cv-00068-MRB-MRM Doc #: 22 Filed: 04/22/16 Page: 3 of 32 PAGEID #: 1608




 Objection II and II.A


               The Report and Recommendations incorrectly finds that the
               contemporaneous objection rule was enforced against Jordan
               with respect to Ground One. Instead, the state appellate court
               did not enforce the contemporaneous objection rule; even if
               this Court agrees with the Report and Recommendations that
               the state court enforced the rule, the Harris presumption
               (which the Report and Recommendations failed to address)
               applies such that the rule is not an adequate and independent
               state procedural bar. Therefore, Ground One is properly
               before this Court and should be considered on the merits.

               A. The First District’s purported “plain error analysis”
               demonstrates that it did not actually enforce the
               contemporaneous objection rule against Jordan for two
               reasons: (1) the First District applied the same two-part merits
               analysis that the Supreme Court of Ohio uses to address the
               merits and prejudicial impact of preserved prosecutorial
               misconduct claims of the exact same nature as those involved
               in Ground One; and (2) the First District used the same
               merits/prejudice analysis for Ground One as it did when
               considering Grounds Two and Three (the errors to which trial
               counsel objected and which the Report and Recommendations
               correctly found to be properly before this Court/not
               procedurally defaulted).

        Applying the governing standard from Maupin v. Smith, 785 F.2d 135, 138 (6th Cir.

 1986), the Report concluded Ground One (prosecutorial misconduct) was procedurally defaulted

 because trial counsel made no objection to the prosecutor’s argument about public safety and the

 First District enforced the contemporaneous objection rule by evaluating the prosecutor’s

 conduct under the Ohio plain error rule (Report, ECF No. 16, PageID 1400-03).

        Jordan objects that, while the First District said it was applying plain error analysis, in

 fact it “use[d] the same standard to address the merits . . . and prejudice as the state supreme



                                                 3
Case: 1:14-cv-00068-MRB-MRM Doc #: 22 Filed: 04/22/16 Page: 4 of 32 PAGEID #: 1609




 court uses to address preserved prosecutorial misconduct claims on the merits.” (Objections,

 ECF No. 19, PageID 1528.) Jordan argues the relevant supreme court case is State v. Jackson,

 92 Ohio St. 3d 436 (1977), and that the First District used Jackson to evaluate the prosecutorial

 misconduct claims in both Ground One and in Grounds Two and Three (Objections, ECF No. 19,

 PageID 1528).

        Jackson is a post-1995 capital case, so the Supreme Court of Ohio was sitting as the first

 appellate court to review the case. In considering a claim that the trial court erred in allowing

 alternate jurors to remain in the jury room during deliberations, the court stated the standard for

 evaluating plain error: “an error ‘does not constitute a plain error or defect under Crim.R. 52(B)

 unless, but for the error, the outcome of the trial clearly would have been otherwise.”’ Jackson,

 supra, at 438, quoting State v. Long, 53 Ohio St. 2d 91, paragraph two of the syllabus (1978).

 That is the exact standard the First District applied to Jordan’s Fourth Assignment of Error:

 “Jordan did not object to these comments about collusion and therefore must demonstrate that,

 but for the misconduct, the outcome of the trial would have been different.” State v. Jordan,

 2012-Ohio-3793, ¶ 25 , 2012 Ohio App. LEXIS 3415 (1st Dist. Aug. 24, 2012). While the First

 District does not cite to Jackson for the plain error standard, it does cite its own plain error

 precedent, State v. Rucker, 2012-Ohio-185, ¶ 20, relying on the Ohio Supreme Court’s post-

 Jackson precedent to the same effect, State v. Williams, 79 Ohio St. 3d 1, 12 (1997).

        Jordan argues the First District defines the plain error standard as meaning “whether

 Jordan was deprived of a fair trial due to the misconduct.” (Objections, ECF No. 19, PageID

 1528.) But the Objections provide no citation for the purported quotation nor any place in which

 the First District says it is defining one test as the equivalent of the other. Furthermore, Jordan

 argues the Ohio Supreme Court used this “same two-part analysis” . . . “to address the merits of



                                                 4
Case: 1:14-cv-00068-MRB-MRM Doc #: 22 Filed: 04/22/16 Page: 5 of 32 PAGEID #: 1610




 preserved [i.e. by contemporaneous objection] prosecutorial misconduct claims” in Jackson. Not

 so. As to the two prosecutorial misconduct claims related to comments by the prosecutor, the

 Jackson court noted as to each of them that “defense counsel did not object to these questions”

 (Sixth Proposition of Law) and “defense counsel did not object to these comments” (Seventh

 Proposition of Law) and applied plain error analysis to deny each of them. Jackson, supra, at

 442-43.

         In order to show a constitutional violation resulting from prosecutorial misconduct, a

 habeas petitioner must show that the prosecutor’s conduct was improper and that it was so

 flagrant as to deny the defendant as fair trial.

                 “In the evaluation of a claim for prosecutorial misconduct, it is not
                 enough that the prosecutor's comments were improper, but ‘[t]he
                 relevant question is whether the prosecutors' comments “so
                 infected the trial with unfairness as to make the resulting
                 conviction a denial of due process.”’” Smith, 567 F.3d [246] at 255
                 [6th Cir. 2009] (quoting Darden v. Wainwright, 477 U.S. 168, 181,
                 106 S.Ct. 2464, 91 L.Ed.2d 144 (1986)) (quoting Donnelly v.
                 DeChristoforo, 416 U.S. 637, 643, 94 S.Ct. 1868, 40 L.Ed.2d 431
                 (1974)). In other words, “[i]n order to satisfy the standard for
                 prosecutorial misconduct, the conduct must be both improper and
                 flagrant.” Broom v. Mitchell, 441 F.3d 392, 412 (6th Cir.2006),
                 cert. denied, 549 U.S. 1255, 127 S.Ct. 1376, 167 L.Ed.2d 165
                 (2007). To determine whether improper conduct is flagrant, we
                 consider four factors:

                     (1) the likelihood that the remarks of the prosecutor
                     tended to mislead the jury or prejudice the defendant; (2)
                     whether the remarks were isolated or extensive; (3)
                     whether the remarks were deliberately or accidentally
                     made; and (4) the total strength of the evidence against
                     the defendant.

                 Bates v. Bell, 402 F.3d 635, 641 (6th Cir.), cert. denied, 546 U.S.
                 865, 126 S.Ct. 163, 163 L.Ed.2d 150 (2005).

 Goff v. Bagley, 601 F.3d 445, 480 (6th Cir. 2010). Any court deciding this constitutional claim is

 supposed to apply this standard in determining the merits of the claim, in other words, in

                                                    5
Case: 1:14-cv-00068-MRB-MRM Doc #: 22 Filed: 04/22/16 Page: 6 of 32 PAGEID #: 1611




 determining whether there is error in what the prosecutor did. Beyond that, when there has been

 no contemporaneous objection but the error is nonetheless raised on appeal, Ohio courts under

 Ohio R. Crim. P. 52(B), must determine if the error was “plain.”

        Petitioner wants this Court to ignore the fact that the First District said it was engaged in

 plain error analysis and noted the absence of a contemporaneous objection which required that,

 to decide the assignment of error, it engage in plain error analysis, because the First District used

 the same merits standard to undergird its plain error analysis. But what other standard would it

 have used? Petitioner does not cite any different “merits + plain error” standard adopted by the

 Ohio courts that the First District would have used if it was “really” engaged in plain error

 analysis. The Report concluded “[t]his Court must take the First District at its word and

 conclude it conducted a plain error review on Ground One/Assignment of Error IV.” (Report,

 PageID 16, PageID 1403.) To refuse to do that when the First District actually employed Ohio

 plain error analysis would seriously violate our duty of comity to the state courts.



 Objection III.B.

                If this Court agrees with the Report and Recommendations,
                that the state appellate court applied a plain error analysis, (1)
                the prejudicial impact standard that the court applied is
                equivalent to the least stringent prejudicial impact standard
                that could have applied had counsel objected, and (2) applying
                the prejudicial impact standard necessarily involves
                considering the constitutional claims. Therefore, the
                contemporaneous objection rule is not an independent
                procedural bar to this Court considering the merits of Ground
                One per the Harris presumption, which the Report and
                Recommendations failed to even consider.


        Petitioner’s argument on Objection II.B is a variant of the argument on Objection II.A.

 Petitioner asserts that since the First District applied the same prejudicial impact test in deciding

                                                  6
Case: 1:14-cv-00068-MRB-MRM Doc #: 22 Filed: 04/22/16 Page: 7 of 32 PAGEID #: 1612




 this claim as it would have applied if it were doing a merits analysis, then the “plain error

 analysis” . . .is not independent from the analysis used by Ohio courts to evaluate the merits . . .

 (Objections, ECF No. 19, PageID 1533, emphasis sic). As argued above as to Objection II.A, of

 course an appellate court must use the applicable merits standard first to determine if there is any

 error raised on appeal, and the add onto it the analysis of whether the error is “plain” or not.

        Petitioner does not argue about what more must shown under Ohio law to prove “plain”

 error over and above error on the merits. The case annotations on Ohio R. Crim. P. 52(B)

 present a myriad of examples of errors held to be plain or not, with no obvious rationalization

 among them. Generalizing, the Ohio Supreme Court held in State v. Lynn, 2011-Ohio-2722, 129

 Ohio St. 3d 146 (2011),

                [T]here are "three limitations on a reviewing court's decision to
                correct an error despite the absence of a timely objection at trial.
                First, there must be an error, i.e., a deviation from a legal rule. * *
                * Second, the error must be plain. To be 'plain' within the meaning
                of Crim.R. 52(B), an error must be an 'obvious' defect in the trial
                proceedings. * * * Third, the error must have affected 'substantial
                rights.' We have interpreted this aspect of the rule to mean that the
                trial court's error must have affected the outcome of the trial." State
                v. Barnes (2002), 94 Ohio St.3d 21, 27, 2002 Ohio 68, 759 N.E.2d
                1240.

 Id. at ¶ 13. The Lynn Court continued that the appellate court has discretion to reverse or not

 even when plain error is found:

                 Even when all three prongs are satisfied, a court still has
                discretion whether or not to correct the error. State v. Noling, 98
                Ohio St.3d 44, 2002 Ohio 7044, 781 N.E.2d 88, at ¶ 62. This court
                "acknowledged the discretionary aspect of Crim.R. 52(B) by
                admonishing courts to notice plain error 'with the utmost caution,
                under exceptional circumstances and only to prevent a manifest
                miscarriage of justice.'" Barnes at 27, 759 N.E.2d 1240, quoting
                State v. Long (1978), 53 Ohio St.2d 91, 7 O.O.3d 178, 372 N.E.2d
                804, paragraph three of the syllabus.

 Id. at ¶ 14. The Ohio Supreme Court does not attempt to quantify any of the parts of this test,

                                                   7
Case: 1:14-cv-00068-MRB-MRM Doc #: 22 Filed: 04/22/16 Page: 8 of 32 PAGEID #: 1613




 e.g., how “obvious” the defect must be or how large the effect on substantial rights must have

 been. But its opinion makes clear that the plain error analysis requires more than just what is

 needed to find an error on the merits.

        Petitioner objects further that the Report does not properly consider the impact of Harris

 v. Reed, 489 U.S. 255 (1989), on procedural default analysis (Objections, ECF No. 19, PageID

 1535). On the contrary, the Report recites the controlling standard from Harris and finds it

 inapplicable in this case because the First District complied with the plain statement rule of

 Michigan v. Long, 463 U.S. 1032 (1983), which Harris was enforcing:

                  Nothing about the First District’s decision of the fifth assignment
                  of error suggests that it “rests primarily on federal law” or is
                  somehow “intertwined” with federal law. The First District
                  found that trial counsel failed to object and engaged thereafter in
                  plain error review, a process the Sixth Circuit has repeatedly held
                  is an enforcement of the contemporaneous objection rule.

        The Supreme Court clarified the Harris presumption in 1991:

                  We can establish a per se rule that eases the burden of inquiry on
                  the federal courts in those cases where there are few costs to doing
                  so, but we have no power to tell state courts how they must write
                  their opinions. We encourage state courts to express plainly, in
                  every decision potentially subject to federal review, the grounds
                  upon which their judgments rest, but we will not impose on state
                  courts the responsibility for using particular language in every case
                  in which a state prisoner presents a federal claim—every state
                  appeal, every denial of state collateral review—in order that
                  federal courts might not be bothered with reviewing state law and
                  the record in the case.

 Coleman v. Thompson, 501 U.S. 722, 739 (1991).



 Objection III:

                  The Report and Recommendations incorrectly determined that
                  the contemporaneous objections rule was enforced against
                  Jordan with respect to Ground Four and failed to apply the

                                                   8
Case: 1:14-cv-00068-MRB-MRM Doc #: 22 Filed: 04/22/16 Page: 9 of 32 PAGEID #: 1614




                Harris presumption. Despite that trial counsel failed to lodge
                an objection to the admission of this evidence, Ground Four is
                not procedurally defaulted because: (1) the claim was
                presented to the trial court in a timely motion for new trial,
                and all levels of state court addressed the claim on the merits;
                (2) the contemporaneous objection rule is not an adequate and
                independent state procedural bar per the Harris presumption,
                because the constitutional claims are at a minimum
                intertwined with the plain error review. Therefore, Ground
                Four is properly before this Court and should be considered on
                the merits.


 (Objections, ECF No. 19, PageID 1538.)

        In his Fourth Ground for Relief, Jordan claims the trial court violated his constitutional

 rights when it admitted in evidence the pre-trial statement of Kareem Gilbert, Jordan’s son, who

 had agreed to testify against Jordan and gave a statement inculpating him, but then repudiated

 that statement in his trial testimony.    The Report concluded this Ground for Relief was

 procedurally defaulted because trial counsel made no contemporaneous objection (Report, ECF

 No. 16, PageID 1415, et seq.) Jordan objects that (1) the contemporaneous objection rule was

 not enforced against him; (2) in any event, that rule is overcome by the Harris v. Reed

 presumption; and (3) any failure of contemporaneous objection was cured by including the claim

 in the motion for new trial.

        The analysis here parallels that for Objection II. Jordan says the contemporaneous

 objection rule was not enforced against him, but the First District plainly held “because Jordan

 did not object to the admission of the statement, we review the record for plain error.” State v.

 Jordan, 2012-Ohio-3793, ¶ 13 (1st Dist. Aug. 24, 2012).        The Harris v. Reed presumption,

 discussed above, is inapplicable because the First District’s opinion complies with the Michigan

 v. Long plain statement rule.

        Jordan previously claimed the lack of contemporaneous objection was cured by including

                                                9
Case: 1:14-cv-00068-MRB-MRM Doc #: 22 Filed: 04/22/16 Page: 10 of 32 PAGEID #: 1615




 this claim in his motion for new trial (Traverse, ECF No. 14, PageID 1334-35). The Report

 noted that Petitioner had cited “no Ohio authority for that proposition.” (Report, ECF No. 16,

 PageID 1417.) The Objections still cite no authority for that proposition. The denial of the

 motion for new trial was before the First District on appeal and it did not find the absence of

 contemporaneous objection excused by raising the objection in the motion for new trial. Instead,

 as it plainly said at ¶ 13, it was reviewing the claim for plain error, which the Sixth Circuit has

 repeatedly held is an enforcement, not a waiver, of the contemporaneous objection rule and that

 rule is an adequate and independent state procedural ground of decision. Wogenstahl v. Mitchell,

 668 F.3d 307, 334 (6th Cir. 2012), citing Keith v. Mitchell, 455 F.3d 662, 673 (6th Cir. 2006);

 Goodwin v. Johnson, 632 F.3d 301, 315 (6th Cir. 2011); Smith v. Bradshaw, 591 F.3d 517, 522

 (6th Cir. 2010); Nields v. Bradshaw, 482 F.3d 442 (6th Cir. 2007); Biros v. Bagley, 422 F.3d

 379, 387 (6th Cir. 2005); Mason v. Mitchell, 320 F.3d 604 (6th Cir. 2003), citing Hinkle v.

 Randle, 271 F.3d 239, 244 (6th Cir. 2001); Scott v. Mitchell, 209 F.3d 854 (6th Cir. 2000), citing

 Engle v. Isaac, 456 U.S. 107, 124-29 (1982). See also Seymour v. Walker, 224 F.3d 542, 557

 (6th Cir. 2000); Goodwin v. Johnson, 632 F.3d 301, 315 (6th Cir. 2011); Smith v. Bradshaw, 591

 F.3d 517, 522 (6th Cir.), cert. denied, 131 S. Ct. 185 (2010).



 Objection III.A.


                The Report and Recommendations failed to recognize: (1) that
                all levels of state court considered Ground Four on the merits;
                and (2) that each level was able to do so because Jordan’s
                Ground Four was fairly presented in a timely motion for new
                trial, which was the only state procedure available to preserve
                his claim following trial counsel’s failure to object.


 (Objections, ECF No. 19, PageID 1539.)

                                                  10
Case: 1:14-cv-00068-MRB-MRM Doc #: 22 Filed: 04/22/16 Page: 11 of 32 PAGEID #: 1616




        In addition to finding procedural default for lack of contemporaneous objection, the

 Report also found Ground Four was procedurally defaulted by failure to present it as a

 constitutional claim to the Ohio courts (Report, ECF No. 16, PageID 1417-1419). Objection

 III.A asserts this was an error because the claim was presented as a constitutional claim at all

 levels of the Ohio courts (Objections, ECF No. 19, PageID 1539-1543).

        Petitioner points first to his Supplemental Motion for New Trial where he argues that

 admitting Gilbert’s pre-trial statement “is highly prejudicial in violation of Jordan’s Fifth, Sixth,

 and Fourteenth Amendment rights because it runs the risk of the jury considering the prior

 inconsistent statements for their truth rather than for impeachment purposes.” (Objections, ECF

 No. 19, PageID 1540, citing Return of Writ, ECF No. 11-1, PageID 212.) The Report quoted

 this language from the Supplemental Motion, but found it was not a fair presentation of any

 constitutional claim because none of the case law cited dealt with admitting prior inconsistent

 statements as a constitutional matter (Report, ECF No. 16, PageID 1418).

        To refute that finding, the Objections quote several pages of the Supplemental Motion

 and conclude “[b]y extensively arguing the prejudice Jordan suffered as a result of the error [of

 admitting Gilbert’s statement] and linking the error and prejudice suffered with Jordan’s

 constitutional rights to due process, a fair trial, and effective assistance of counsel, the error

 clearly was fairly presented.” (ECF No. 19, PageID 1542.) Petitioner points to no place in the

 Supplemental Motion where any federal case law was cited. As the Report points out, the

 federal courts have long held that mere recitation of talismanic phrases such as “due process” or

 “fair trial” are insufficient to fairly present a federal constitutional claim (Report, ECF No. 16,

 PageID 1419).

        Petitioner argues that the state courts at each level decided this claim on the merits



                                                  11
Case: 1:14-cv-00068-MRB-MRM Doc #: 22 Filed: 04/22/16 Page: 12 of 32 PAGEID #: 1617




 (Objections, ECF No. 19, PageID 1540, n. 6.) Judge Allen’s entire Entry Denying the Motion

 reads in its entirety: “This matter is before the court on the defendant's February 7, 2011 motion

 for new trial. Based upon the evidence submitted and the arguments of counsel this court finds

 that the motion is not well taken. The motion is DENIED.” (Return of Writ, ECF No. 11-1,

 PageID 283.) The Entry is a decision on the merits of the new trial motion, but Judge Allem

 certainly evinces no understanding that she is deciding a constitutional claim.

           The First District decided the matter purely as an interpretation of Ohio R. Evid. 613 with

 no mention of any constitutional issues. State v. Jordan, 2012-Ohio-3793, ¶¶ 13-15. In his First

 Assignment of Error on appeal, Jordan argued “[t]he trial court committed plain error1 in

 violation of Evid. R. 613 and Jordan’s Fifth, Sixth, and Fourteenth Amendment rights to due

 process, a fair trial before an impartial jury, and to confront all witnesses” when it allowed the

 jury to hear the recorded statement. (Appellant’s Brief, Return of Writ, ECF No. 11-2, PageID

 301.) Jordan argued this Assignment at length,2 but in the thirteen pages of argument, only two

 federal cases are cited, one for the interpretation of Fed. R. Evid. 613 which is cognate to Ohio

 R. Evid. 613 and one to Strickland v. Washington, 466 U.S. 668. (1984), for the general standard

 for ineffective assistance of trial counsel. A state prisoner ordinarily does not ‘fairly present’ a

 federal claim to a state court if that court must read beyond a petition, a brief, or similar papers to

 find material that will alert it to the presence of such a claim. Baldwin v. Reese, 541 U.S. 27

 (2004).     Thus the Magistrate Judge adheres to his prior conclusion that Ground Four was not

 fairly presented as a constitutional claim to the First District.

           Jordan also claims that the Ohio Supreme Court decided this constitutional claim on the


 1
   By claiming plain error, Jordan essentially admitted he had to overcome the lack of a trial objection to obtain
 review of this claim.
 2
   Jordan was represented on appeal by the same attorney who represents him in this case, Attorney Michelle Berry,
 who became Jordan’s lawyer at the time of the Motion for New Trial.

                                                        12
Case: 1:14-cv-00068-MRB-MRM Doc #: 22 Filed: 04/22/16 Page: 13 of 32 PAGEID #: 1618




 merits (Objections, ECF No. 19, PageID 1540, 1544). On the contrary, the Ohio Supreme

 Court’s disposition is the standard form entry signed by the Chief Justice which declines to

 accept jurisdiction (Entry, ECF No. 11-2, PageID 427). The Ohio Supreme Court expressly

 disclaims any merit impact from such a declination of jurisdiction: “The refusal of the Supreme

 Court to accept any case for review shall not be considered a statement of opinion as to the

 merits of the law stated by the trial or appellate court from which review is sought.” Ohio Sup.

 Ct. Rep. R. 4.1.3

         Alternatively, if the Court were to accept Jordan’s premise that this claim was decided on

 the merits, then the First District’s decision would be entitled to deference under the

 Antiterrorism and Effective Death Penalty Act of 1996 (Pub. L. No 104-132, 110 Stat. 1214)(the

 "AEDPA").       When a state court decides on the merits a federal constitutional claim later

 presented to a federal habeas court, the federal court must defer to the state court decision unless

 that decision is contrary to or an objectively unreasonable application of clearly established

 precedent of the United States Supreme Court. 28 U.S.C. ' 2254(d)(1); Harrington v. Richter,

 562 U.S. 86, 100 (2011); Brown v. Payton, 544 U.S. 133, 140 (2005); Bell v. Cone, 535 U.S.

 685, 693-94 (2002); Williams (Terry) v. Taylor, 529 U.S. 362, 379 (2000).

         Jordan has not shown that the First District’s decision on this claim is contrary to or an

 objectively unreasonable application of United States Supreme Court precedent. The rule that

 extrinsic evidence of a prior inconsistent statement cannot be admitted once the witness has

 admitted making it had never been held to be required by the United States Constitution and

 Jordan cites no law to the contrary. In lieu of admitting the prior statement, the prosecutor could

 have introduced the substance of the statement by cross-examining Gilbert on it line by line, a


 3
  For the proposition that the Ohio Supreme Court’s form declination of jurisdiction constitutes a decision on the
 merits, Jordan cites Arias v. Lafler, 511 Fed. Appx. 440 (6th Cir. Jan. 9, 2013). Arias contains no such holding.

                                                        13
Case: 1:14-cv-00068-MRB-MRM Doc #: 22 Filed: 04/22/16 Page: 14 of 32 PAGEID #: 1619




 point Jordan conceded on direct appeal and which the First District accepted. State v. Jordan,

 supra, ¶ 15.

        Admission of the prior statement presents no Confrontation Clause issue because Kareem

 Gilbert was present and available for cross-examination by Jordan’s counsel.

        Jordan’s sole citation to federal authority on this Objection III.A is to Dowling v. United

 States, 493 U.S. 342 (1990), which is cited for the very general proposition that “evidentiary

 errors may be so egregious as to violate due process and fundamental fairness.” (ECF No. 19,

 PageID 1542.) Dowling was charged with bank robbery and the trial court allowed identification

 testimony, despite Fed. R. Evid. 404(b), from the victim of a burglary Dowling was alleged to

 have committed previously, but on which he was acquitted. In upholding the conviction, the

 Supreme Court held:

                Beyond the specific guarantees enumerated in the Bill of Rights,
                the Due Process Clause has limited operation. We, therefore, have
                defined the category of infractions that violate "fundamental
                fairness" very narrowly. As we observed in Lovasco, supra, at 790:

                 "Judges are not free, in defining 'due process,' to impose on law
                enforcement officials [their] 'personal and private notions' of
                fairness and to 'disregard the limits that bind judges in their judicial
                function.' Rochin v. California, 342 U.S. 165, 170 (1952). . . .
                [They] are to determine only whether the action complained of . . .
                violates those 'fundamental conceptions of justice which lie at the
                base of our civil and political institutions,' Mooney v. Holohan,
                294 U.S. 103, 112 (1935), and which define 'the community's
                sense of fair play and decency,' Rochin v. California, supra, at
                173."

  493 U.S. at 353. If anything, Dowling works contrary to Jordan’s position. In any event, it

 certainly cannot be said that the First District’s decision was contrary to or an objectively

 unreasonable application of Dowling.




                                                  14
Case: 1:14-cv-00068-MRB-MRM Doc #: 22 Filed: 04/22/16 Page: 15 of 32 PAGEID #: 1620




 Objection III.B

                The Report and Recommendations’ conclusion that Jordan’s
                motion for new trial failed to exhaust Ground Four in the
                aftermath of trial counsel’s failure to object: (1) is inconsistent
                with the comity and federalism policies underlying the
                contemporaneous objection rule; (2) fails to acknowledge that
                all levels of state court reviewed the issue presented in Ground
                Four on the merits; and (3) renders Jordan absent a state
                corrective process such that the exception in 28 U.S.C.
                2254(b)(1)(B) should apply, which the Report and
                Recommendations also failed to acknowledge.

 (ECF No. 19, PageID 1543.)

        The premise of Objection III.B is that the Report found Ground Four was not exhausted.

 The premise is false; there is no such finding in the Report.



 Objection III.C

                The Report and Recommendations failed to apply or even
                address the Harris presumption with respect to Ground Four.
                Even if this Court agrees with the Report and
                Recommendations and finds that the state appellate court
                enforced the contemporaneous objection rule, the rule is not an
                adequate and independent state procedural bar, per the Harris
                presumption, because: (1) the prejudicial impact analysis that
                would have applied had trial counsel objected is equivalent to
                the prejudice analysis pursuant to plain error review; and (2)
                the constitutional claims are interwoven with the state
                procedural rules involved in the plain error analysis.


 (ECF No. 19, PageID 1546.)

        The Harris presumption is inapplicable to Ground Four for the same reason given above

 as to Ground One, to wit, the First District plainly stated it was performing plain error review.

 As noted above, the Sixth Circuit has repeatedly held that Ohio’s contemporaneous objection

 rule is an adequate and independent state procedural rule and that plain error review is an



                                                 15
Case: 1:14-cv-00068-MRB-MRM Doc #: 22 Filed: 04/22/16 Page: 16 of 32 PAGEID #: 1621




 enforcement of that rule, not a waiver of it.

        The Objections contain a page-long footnote about how the First District should have

 decided the Motion for New Trial (ECF No. 19, PageID 1546-47). The argument seems to

 assume, without citation of Ohio authority, that including an argument in a motion for new trial

 “cures” lack of a contemporaneous objection.



 Objection IV

                The Report and Recommendations incorrectly determined that
                the contemporaneous objection rule was enforced against
                Jordan with respect to Ground Five and failed to properly
                apply the Harris presumption by incorrectly finding that the
                state procedural rules involved in the plain error analysis do
                not inherently involve analysis of the constitutional claims.
                Despite that trial counsel failed to lodge an objection to the
                jury instruction, Ground Five is not procedurally defaulted
                because: (1) all levels of state court addressed the claim on the
                merits; and (2) the contemporaneous objection rule not an
                independent or adequate state procedural bar per Harris
                because the constitutional claims are interwoven with the state
                procedural rules involved in the plain error analysis.
                Therefore, Ground Five is properly before this Court and
                should be considered on the merits.


        In his Fifth Ground for Relief, Jordan claims the First District violated his constitutional

 rights by upholding the limiting instruction Judge Allen gave with respect to what the jury could

 properly do with Kareem Gilbert’s recorded pre-trial statement, i.e., consider it only for

 impeachment purposes.

        The Report found Ground Five was barred from merits consideration by Jordan’s

 procedural default in not making a contemporaneous objection (ECF No. 16, PageID 1419-22).

 The Report hypothesized that Jordan was claiming any limiting instruction would have been

 insufficient. Id. at PageID 1419. The Objections confirm that reading (ECF No. 19, PageID

                                                 16
Case: 1:14-cv-00068-MRB-MRM Doc #: 22 Filed: 04/22/16 Page: 17 of 32 PAGEID #: 1622




 1552).

          As with the Grounds for Relief analyzed above, Jordan asserts his lack of

 contemporaneous objection was overcome by including this claim in his Motion for New Trial

 (Objections, ECF No. 19, PageID 1552). Again no Ohio authority is cited for that proposition.

 Jordan turns this argument on its head by stating “[t]here is no case law to support the

 application of the contemporaneous objection rule when an error is included in a timely new trial

 motion.” Not so. In this very case, the First District applied the contemporaneous objection rule

 despite Jordan’s having raised the claim in a new trial motion. Did it violate established Ohio

 law in doing so? Where is the case authority?

          Jordan repeats the by now familiar argument that the First District considered the merits

 when conducting plain error review. For the reasons set forth above (supra at 6), that argument

 is unavailing because plain error review requires a court to determine if there is any error as well

 as determining whether it is “plain.”



 Objection V

                 The Report and Recommendations incorrectly finds that
                 Ground Six, Subclaim One (ineffective assistance for failure to
                 object to the admission of Gilbert’s statement) is procedurally
                 defaulted by abandonment in the Supreme Court of Ohio.

                 A. Jordan’s Memo in Support of Jurisdiction directly states the
                 ineffective assistance subclaim pertaining to trial counsel’s
                 failure to object to the admission and review-by-the-jury-
                 during-deliberations of extrinsic evidence (a recording) of
                 Gilbert’s prior statement. Therefore this claim was not
                 abandoned in the state supreme court.

 (ECF No. 19, PageID 1557.)

          In his Sixth Ground for Relief, Jordan claims he received ineffective assistance of trial



                                                 17
Case: 1:14-cv-00068-MRB-MRM Doc #: 22 Filed: 04/22/16 Page: 18 of 32 PAGEID #: 1623




 counsel in five different ways, which the Report characterizes as sub-claims one through five

 (ECF No. 16, PageID 1422). Sub-claim One asserts it was ineffective assistance of trial counsel

 to fail to object to the admission of Kareem Gilbert’s recorded statement. The Report accepted

 the Warden’s argument that this sub-claim had been abandoned by not including it in the appeal

 to the Ohio Supreme Court, quoting verbatim Jordan’s Proposition of Law VI (ECF No. 16,

 PageID 1422-23).

        The Objections assert this is incorrect, but does not dispute that the quotation of

 Proposition of Law VI in the Report is accurate. Instead, Jordan points (without a record

 reference) to the argument he made in support of Proposition of Law VI:

                In the event that trial counsel failed to properly object to the
                constitutional errors explained in Propositions of Law I-V, such
                failure constitutes ineffective assistance of counsel. Proper and
                timely action by trial counsel potentially could have prevented
                these errors from occurring. Instead, the ultimate prejudice to
                Jordan resulted. The jury improperly considered: (1) the substance
                of Gilbert’s recorded statement (which alone proved the State’s
                case against Jordan); (2) the consequences of an acquittal,
                specifically Jordan’s protection against double jeopardy, and an
                alleged threat to public safety attested to by the prosecutor based
                on unsupported speculation.

 (Objections, ECF No. 19, PageID 1558, quoting Memorandum in Support of Jurisdiction, Return

 of Writ, ECF No. 11-2, PageID 395; bold face and italic added by Jordan in Objections.) An

 assertion of law in a hypothetical in a different proposition of law does not constitute

 preservation of the issue for decision by the Ohio Supreme Court. Jordan claims the “specific

 substantive error underlying this ineffective assistance subclaim . . . is presented in Proposition

 of Law IV.” (Objections, ECF No. 19, PageID 1558.) That is true but unavailing: a claim that

 there was error in admitting evidence is not the same as a claim it was ineffective assistance of

 trial counsel to fail to object to the admission; one claims error by the trial judge and the other by



                                                  18
Case: 1:14-cv-00068-MRB-MRM Doc #: 22 Filed: 04/22/16 Page: 19 of 32 PAGEID #: 1624




 counsel.

          Under Ohio law, the issues presented to the Ohio Supreme Court are required to be

 structured as “propositions of law” which serve in place of assignments of error raised in the

 courts of appeals. The purpose behind the requirement of “propositions of law” is “to present the

 court in concise form the legal issues involved in the cause.” Drake v. Bucher, 5 Ohio St. 2d 37

 (1966). Failure to raise an error properly may result in the Supreme Court’s refusal to consider

 it. State v. Carter, 27 Ohio St. 2d 135, 139 (1971). Before the Ohio Supreme Court abrogated

 the syllabus rule in Ohio, propositions of law were required to be in a form that could serve as

 the syllabus of the case if the appellant prevailed.4 Obviously, a point of law embedded in an

 argument does not meet this requirement.

          Jordan’s counsel complains that she was limited to fifteen pages in her Memorandum in

 Support of Jurisdiction (Objections, ECF No. 19, PageID 1559). Contrasting that with the 46-

 page Petition, the 87-page Traverse, and the 80-page Objections filed in this habeas corpus case,

 the Magistrate Judge could wish for a stricter page limit in filings in this Court. When one is

 faced with a page limitation by a court, especially an appellate court, one must choose carefully

 what to include. Subclaim One was not chosen for inclusion. It cannot now be restrospectively

 reinserted.



 Objection VI

                   The Report and Recommendations’ review of Jordan’s Cause
                   and Prejudice Analysis is incomplete because it considers only

 4
   The syllabus of an opinion issued by the Ohio Supreme Court states the controlling point or points of law decided
 in and necessarily arising from the facts of the specific case before the Court for adjudication" and all lower courts
 in the States are bound to adhere to the principles set forth therein. State, ex rel. Heck, v. Kessler, 72 Ohio St. 3d 98,
 103 (1995), citing State v. Klem, 6 Ohio St. 3d 16, 18 (1983); Grange Mut. Cas. Co. v. Smith, 80 Ohio App. 3d 426
 (1982). See also State ex rel Leonard v. White, 75 Ohio St. 3d 516 (1996). The syllabus rule was adopted in 1858
 and abrogated in 2002.

                                                            19
Case: 1:14-cv-00068-MRB-MRM Doc #: 22 Filed: 04/22/16 Page: 20 of 32 PAGEID #: 1625




                 one instance of ineffective assistance of trial counsel despite
                 that Jordan exhausted several instances of ineffective
                 assistance of trial counsel. The Court’s consideration of all
                 instances of ineffective assistance of trial counsel will
                 demonstrate that Jordan satisfies the cause and prejudice
                 exception to excuse any procedural defaults, and that Jordan is
                 entitled to relief on the basis of ineffective assistance of trial
                 counsel.

 (Objections, ECF No. 19, PageID 1560.)

        Jordan complains that the Report’s analysis of ineffective assistance of trial counsel as

 cause for procedural default is incomplete. The Report found that the ineffective assistance of

 trial counsel claim, considered as excusing cause for the procedural default of Ground One, was

 decided on the merits by the First District, but its decision was neither contrary to nor an

 objectively unreasonable application of Strickland, supra (Report, ECF No. 16, PageID 1404-

 05).

        The Report considers claims of ineffective assistance of trial counsel as possible excusing

 cause for a procedural default on a claim-by-claim basis. It is not clear how it could be

 otherwise. If, for example, a judge instructed a jury that the reasonable doubt standard was just

 an historical relic no longer binding and the trial attorney did not object, how could a completely

 different instance of ineffective assistance – say, failure to call an ironclad alibi witness – excuse

 the first default? In any event, Jordan offers no case authority for the proposition that ineffective

 assistance causing one procedural default can be used to excuse others (Objections, ECF No. 19,

 PageID 1561).

        The Objections next argue the Report was in error in finding the First District’s

 ineffective assistance holdings were not contrary to Strickland, supra (ECF No. 19, PageID

 1562). The Report “should be rejected in this regard [because] [t]rial counsel undisputedly

 committed the errors in question.” Id.       But the first prong of the Strickland analysis is not

                                                  20
Case: 1:14-cv-00068-MRB-MRM Doc #: 22 Filed: 04/22/16 Page: 21 of 32 PAGEID #: 1626




 satisfied by pointing to something a trial attorney could have done but did not do. Rather, with

 respect to the first prong of the Strickland test, the Supreme Court has commanded:

               Judicial scrutiny of counsel's performance must be highly
               deferential. . . . A fair assessment of attorney performance requires
               that every effort be made to eliminate the distorting effects of
               hindsight, to reconstruct the circumstances of counsel’s challenged
               conduct, and to evaluate the conduct from counsel’s perspective at
               the time. Because of the difficulties inherent in making the
               evaluation, a court must indulge a strong presumption that
               counsel's conduct falls within a wide range of reasonable
               professional assistance; that is, the defendant must overcome the
               presumption that, under the circumstances, the challenged action
               "might be considered sound trial strategy."

 Strickland, 466 U.S. at 689. In other words, the attorney’s act or omission must be shown to

 have been a deviation from professional standards of conduct.         Counsel’s performance is

 measured by “prevailing professional norms” at the time of the alleged errors. Strickland, supra,

 at 690; Maryland v. Kulbicki, 577 U.S. ___, 136 S. Ct. 2, *; 193 L. Ed. 2d 1 (2015); Rickman v.

 Bell, 131 F.3d 1150, 1154 (6th Cir. 1997). Earlier this month, the Supreme Court reemphasized

 the deference which must be given to state court determinations on ineffective assistance

 questions:

               “A state court’s determination that a claim lacks merit precludes
               federal habeas relief so long as “fair-minded jurists could disagree”
               on the correctness of the state court decision,” Harrington v.
               Richter, 562 U.S. 86, 101 (2011)(quoting Yarborough v. Alvarado,
               541 U.S. 652, 664 (2004). The state court decision must be “so
               lacking in justification that there was an error well understood and
               comprehended in existing law beyond any possibility for
               fairminded disagreement.” White v. Woodall, 572 U.S. ___, ___
               (2014), slip op. at 4.

               When the claim at issue is one for ineffective assistance of counsel,
               moreover, AEDPA review is “doubly deferential,” Cullen v.
               Pinholster, 563 U.S. 170, 190 (2011), because counsel is “strongly
               presumed to have rendered adequate assistance and made all
               significant decisions in the exercise of reasonable professional
               judgment,” Burt v. Titlow, 571 U.S. ___, ___ (2013), slip op. at

                                                21
Case: 1:14-cv-00068-MRB-MRM Doc #: 22 Filed: 04/22/16 Page: 22 of 32 PAGEID #: 1627




                9)(quoting Strickland v, Washington, 466 U.S. 668, 690 (1984);
                internal quotation marks omitted). In such circumstances, federal
                courts are to afford “both the state court and the defense attorney
                the benefit of the doubt.” at ___ (slip op. at 1).

 Woods v. Etherton, 578 U.S. ___, slip op. at 3-4, 136 S. Ct. 1149, 2016 U.S. LEXIS 2277 (Apr.

 4, 2016)(per curiam; unanimous), reversing Etherton v. Rivard, 800 F.3d 737 (6th Cir. 2015).

        The First District held that any possible prejudice from the jury’s hearing the recorded

 statement was overcome by Judge Allen’s curative instruction that they must not consider it

 except as it bore on Gilbert’s credibility. Jordan objects:

                The ruling that Jordan was not prejudiced as a result of the
                improperly admitted evidence, due to the jury instruction, is not
                only contrary to and an unreasonable application of Strickland and
                Jordan’s constitutional rights to the effective assistance of counsel,
                due process, confrontation, and a fair trial by an impartial jury, but
                also, it constitutes an unreasonable determination of the facts.


 (Objections, ECF No. 19, PageID 1565.)          This sentence is another example of counsel’s

 tendency to cite every claim as a part of every other claim. Indeed, the prejudice argument here

 properly relates to Strickland. But what does it have to do with “confrontation”? And what facts

 does Jordan contend were unreasonably determined by the prejudice finding? Any claim that the

 jury ignored the instruction must be based on pure speculation and indeed Jordan cites no facts in

 evidence to show that the instruction did not work.

        Jordan then devotes nine pages to detailing how weak the State’s case against him was

 and therefore why allowing the jury to hear his son’s record statement was prejudicial

 (Objections, ECF No. 19, PageID 1565-1577). The record discloses in sum that Jordan had a

 motive (Davis was to be a witness in another murder case involving his son) and opportunity (his

 DNA was found in a wad of spit at the scene of the Davis murder within minutes of the




                                                  22
Case: 1:14-cv-00068-MRB-MRM Doc #: 22 Filed: 04/22/16 Page: 23 of 32 PAGEID #: 1628




 shooting). Furthermore there was an eyewitness5 and an admission. Much effort is given to

 discrediting that testimony, but it is independent of Gilbert’s recorded statement and the jury

 would have heard the content of that statement anyway if the prosecutor had engaged in the line-

 by-line cross-examination from the prior statement which the First District found would have

 been completely proper.



 Objection VII

                  The Report and Recommendations incorrectly concludes that
                  Martinez and Trevino do not apply in this case to excuse any
                  procedural defaults.

 (Objections, ECF No. 19, PageID 1577.)


         In Martinez v. Ryan, 566 U.S. ___, 132 S. Ct. 1309, 182 L. Ed. 2d 272 (2012), the

 Supreme Court created an equitable exception to the procedural default doctrine for claims of

 ineffective assistance of trial counsel where the defendant was required to raise such claims in a

 collateral attack, as is the case in Arizona, and they were not thus raised because the defendant

 received ineffective assistance of post-conviction counsel. In Trevino v. Thaler, ___ U.S. ___,

 133 S. Ct. 1911, 185 L. Ed. 2d 1044 (2013), the Court extended Martinez to the Texas system.

 The Report noted that the Sixth Circuit has not yet decided whether Martinez and Trevino apply

 in Ohio.6 The Report concluded that, even assuming they apply in Ohio, they would have no

 application to this case because all of Jordan’s ineffective assistance of trial counsel claims

 appear on the face of the record and were therefore required to be raised on direct appeal
 5
   Jordan persists in claiming this witness is not credible because he said he was only about 75% sure. But as counsel
 well knows, the wrongful conviction literature is full of eyewitnesses who were both 100% certain and clearly
 wrong. See Convicting the Innocent: Where Criminal Prosecutions Go Wrong – Brandon L. Garrett.
 6
   The Magistrate Judge has recommended that the Sixth Circuit conclude that Martinez and Trevino do apply to the
 Ohio system of adjudicating claims of ineffective assistance of trial counsel. Landrum v. Anderson, 2012 U.S. Dist.
 LEXIS 118501 (S.D. Ohio Aug. 22, 2012). On appeal in that case, the Sixth Circuit elided the question. Landrum
 v. Anderson, 813 F.3d 330, 336 (6th Cir. 2016).

                                                         23
Case: 1:14-cv-00068-MRB-MRM Doc #: 22 Filed: 04/22/16 Page: 24 of 32 PAGEID #: 1629




 (Report, ECF No. 16, PageID 1406).

         The Objections essentially argue that Martinez and Trevino should be extended to

 petitioners like Jordan who preserved his ineffective assistance of trial counsel claims

 (Objections, ECF No. 19, PageID 1578). That is a policy argument for the appellate courts, not

 this Court. As to the likelihood the Supreme Court would reach that conclusion, the Magistrate

 Judge notes the result in Trevino garnered two fewer votes than that in Martinez. Thus there is

 little probability that the current Supreme Court would extend Martinez more broadly.



 Objection VIII

                  The Report and Recommendations is incorrect to interpret the
                  Schlup miscarriage of justice exception as requiring new
                  evidence in non-successive habeas petitions, and thus that
                  Jordan, due to his lack of new evidence, does not satisfy this
                  standard to excuse any procedural defaults.

 (Objections, ECF No. 19, PageID 1579.)

         Even if other excuses for his procedural defaults were unavailing, Jordan argued he was

 entitled to the benefit of the “actual innocence”7 gateway recognized in Schlup v. Delo, 513 U.S.

 298, 316 (1995).

         The controlling precedent on this point is now the Supreme Court’s decision in

 McQuiggin v. Perkins, 569 U.S. ___, 133 S. Ct. 1924, 185 L. Ed. 2d 1019 (2013).


                  [A]ctual innocence, if proved, serves as a gateway through which a
                  petitioner may pass whether the impediment is a procedural bar, as
                  it was in Schlup and House, or, as in this case, expiration of the
                  statute of limitations. We caution, however, that tenable actual-
                  innocence gateway pleas are rare: “[A] petitioner does not meet the

 7
   Jordan refers to this as the “miscarriage of justice” gateway. The “miscarriage of justice” standard, which is
 sometimes used synonymously with “actual innocence,” requires some showing of actual innocence. In other
 words, they are the same standard, not alternative ways of avoiding a procedural default. Dretke v. Haley, 541 U.S.
 386, 393 (2004); Calderon v. Thompson, 523 U.S. 538 (1998).

                                                         24
Case: 1:14-cv-00068-MRB-MRM Doc #: 22 Filed: 04/22/16 Page: 25 of 32 PAGEID #: 1630




                threshold requirement unless he persuades the district court that, in
                light of the new evidence, no juror, acting reasonably, would have
                voted to find him guilty beyond a reasonable doubt.” Schlup, 513
                U. S., at 329, 115 S. Ct. 851, 130 L. Ed. 2d 808; see House, 547 U.
                S., at 538, 126 S. Ct. 2064, 165 L. Ed. 2d. 1 (emphasizing that the
                Schlup standard is “demanding” and seldom met). And in making
                an assessment of the kind Schlup envisioned, “the timing of the
                [petition]” is a factor bearing on the “reliability of th[e] evidence”
                purporting to show actual innocence. Schlup, 513 U. S., at 332,
                115 S. Ct. 851, 130 L. Ed. 2d. 808.

                ***

                [A] federal habeas court, faced with an actual-innocence gateway
                claim, should count unjustifiable delay on a habeas petitioner’s
                part, not as an absolute barrier to relief, but as a factor in
                determining whether actual innocence has been reliably shown.

 Id. at 1928 (emphasis added).


        The Report found that Jordan did not qualify for the actual innocence gateway because he

 had presented no new evidence (Report, ECF No. 16, PageID 1406-07). In the Objections,

 Jordan argues “[i]t is erroneous and unreasonable to conclude that Schlup requires new evidence

 in non-successive habeas petitions, because such a standard would position actually innocent

 first-time petitioners in a worse procedural circumstance than actually innocent successive

 petitioners.” (ECF No. 19, PageID 1579-80.) While that is an interesting policy argument, all

 the precedent says new evidence is required. See McQuiggin, supra; House v. Bell, 547 U.S. 518

 (2006); and Souter v. Jones, 395 F.3d 577 (6th Cir. 2005).



 Objection IX

                The Report and Recommendations erroneously failed to
                consider the merits of Ground One, which warrants relief for
                the reasons explained in Jordan’s Petition and Traverse.
                Additionally, the Report and Recommendations ruled contrary
                to and unreasonably applied applicable Supreme Court
                precedent when it denied Jordan relief on the merits of

                                                 25
Case: 1:14-cv-00068-MRB-MRM Doc #: 22 Filed: 04/22/16 Page: 26 of 32 PAGEID #: 1631




                      Grounds Two and Three, which warrant relief for the reasons
                      explained in Jordan’s Petition and Traverse.


 (Objections, ECF No. 19, PageID 1580.)

            The Objections complain that the Report did not consider the merits of Ground One,

 “improperly deeming it procedurally defaulted.” (ECF No. 19, PageID 1580.) For the reasons

 set forth above in dealing with the First Ground for Relief, the Magistrate Judge continues to be

 of the opinion that the claim is procedurally defaulted. When a habeas court concludes a claim is

 procedurally defaulted, it is not obliged to provide an alternative merits analysis.

            Jordan objects that the Report’s conclusion on the merits of Ground Two “ruled contrary

 to and unreasonably applied applicable Supreme Court precedent.” (ECF No. 19, PageID 1580.)

 Without further analysis of how the Report was wrong in this regard, the Objections list “Young,

 Parker, Turner, Donnelly, Thompson, [and] Berger” without even giving the citations. The

 Magistrate Judge stands on the analysis given on the merits in the Report (ECF No. 16, PageID

 1410-14).

            With respect to Ground Three, the Report overruled the Warden’s procedural default

 defense, but upheld the First District’s decision on the merits (Report, ECF No. 16, PageID

 1414-15). In the course of reaching that decision, the Magistrate Judge wrote that “the First

 District elided the question of whether the reference [to Gilbert’s recorded statement] was

 misconduct by the prosecutor and went directly to the prejudice question.” (Report, ECF No. 16,

 PageID 1414.) Jordan objects that “this is . . . blatantly incorrect.”8 (Objections, ECF No. 19,

 PageID 1580.)

            There are two prongs to the test for unconstitutional prosecutorial misconduct: (1) was

 the conduct improper and (2) was it prejudicial. Darden v. Wainwright, 477 U.S. 168, 181,
 8
     Not just “incorrect,” but “blatantly incorrect.”

                                                        26
Case: 1:14-cv-00068-MRB-MRM Doc #: 22 Filed: 04/22/16 Page: 27 of 32 PAGEID #: 1632




 (1986); Donnelly v. DeChristoforo, 416 U.S. 637, 643 (1974). In other words, “[i]n order to

 satisfy the standard for prosecutorial misconduct, the conduct must be both improper and

 flagrant.” Broom v. Mitchell, 441 F.3d 392, 412 (6th Cir.2006), cert. denied, 549 U.S. 1255

 (2007). The entire opinion of the First District on this assignment of error follows:


                Prosecutorial Misconduct

                 [*P16] In his second, third, and fourth assignments of error,
                Jordan claims that he was deprived of a fair trial because of
                prosecutorial misconduct. We address these assignments together.

                 [*P17] The test for prosecutorial misconduct is whether the
                prosecutor's questions or remarks were improper, and, if so,
                whether they prejudicially affected the defendant's substantial
                rights. State v. Glenn, 1st Dist. No. C-090205, 2011 Ohio 829, ¶
                52, citing State v. Smith, 14 Ohio St.3d 13, 14-15, 14 Ohio B. 317,
                470 N.E.2d 883 (1984) and State v. Canyon, 1st Dist. Nos. C-
                070729, C-070730, and C-070731, 2009 Ohio 1263, ¶ 17.

                 [*P18] Jordan first argues that the assistant prosecutor improperly
                invited the jury to consider Gilbert's prior statement as substantive
                evidence rather than mere impeachment.

                 [*P19] We agree that a number of the assistant prosecutor's
                statements tended to suggest that the jury could consider the prior
                statement for its truth. Nonetheless, we must presume that the jury
                followed the trial court's instruction that the prior statement was to
                be considered only for purposes of impeachment. See State v.
                Loza, 71 Ohio St.3d 61, 79, 1994 Ohio 409, 641 N.E.2d 1082
                (1994). Thus, we find no prejudice to have resulted from the
                asserted misconduct.

 State v. Jordan, supra. Having recited the proper standard for evaluating prosecutorial conduct

 and the conduct complained of, the First District conceded Jordan had an arguable point –

 “statements tended to suggest.” Nevertheless, it never made a finding that the statements were in

 fact improper. Instead, it concluded there was “no prejudice from the asserted misconduct.”

 Since the test for prosecutorial misconduct is conjunctive (misconduct + prejudice), it was



                                                 27
Case: 1:14-cv-00068-MRB-MRM Doc #: 22 Filed: 04/22/16 Page: 28 of 32 PAGEID #: 1633




 perfectly proper for the First District to decide the assignment by finding Jordan had failed on

 one of the prongs of the test. The Magistrate Judge respectfully suggests that is a reasonable

 reading of what the First District did.

         The Objections then jump from “tended to suggest” to the conclusion the jury actually

 decided “not on the basis of the evidence.” (ECF No. 19, PageID 1581.) But the First District

 never reached that conclusion, but credited Judge Allen’s curative instruction as having avoided

 that result.

         The Objections then complain that “[t]he Report and Recommendations failed even to

 address the most basic concept at issue – that a conviction must be based on actual evidence

 presented at trial, and that a defendant is necessarily prejudiced when the jury bases its decision

 on other factors.” (ECF No. 19, PageID 1581, citing Thompson v. City of Louisville, 362 U.S.

 199 (1960)).9 With respect, the Magistrate Judge would note that there is no Ground for Relief

 pleaded that claims the jury decided the case on the basis of facts not in evidence.10 Jordan

 argues “it is not even in dispute that the jurors considered factors beyond the evidence adduced at

 trial.” (Objections, ECF No. 19, PageID 1591.) Here again there is a leap of logic. While the

 First District noted that the prosecutor had asked the jury to convict “not on the basis of the

 evidence, but to prevent Jordan and Gilbert from playing what the prosecutor referred to as a

 “grade-school simplistic trick,’” (State v. Jordan, supra, ¶ 24) there is no proof that they did so

 and they were instructed that attorney’s comments are not evidence. Of course the assignment of


 9
    Thompson v. City of Louisville was decided on certiorari directly from the Supreme Court to the Police Court of
 Louisville, Kentucky. The Supreme Court unanimously decided there was insufficient evidence to convict
 Thompson of loitering and disorderly conduct; the evidence merely showed he was waiting in a public cafe for a bus
 and, when arrested for loitering on that basis, became argumentative with the arresting officer. Thompson was
 decided twelve years before Papachristou v. Jacksonville, 405 U.S. 156 (1972), made loitering constitutionally
 protected conduct and nineteen years before Jackson v. Virginia, 443 U.S. 307 (1979), adopted the sufficient
 evidence standard as mandated by the Fourteenth Amendment, but it is clearly a case on the way to both of those
 decisions.
 10
    The Grounds for Relief as pleaded are set out verbatim in the Report, ECF No. 16, PageID 1390-92.

                                                        28
Case: 1:14-cv-00068-MRB-MRM Doc #: 22 Filed: 04/22/16 Page: 29 of 32 PAGEID #: 1634




 error claiming prosecutorial misconduct in this regard was procedurally defaulted for lack of a

 contemporaneous objection. Id.



 Objection IX.A


                Additional errors in the Report and Recommendations with
                respect to the merits discussion of Grounds Two and Three:
                The Report and Recommendations’ conclusions regarding the
                impact of cross-examination of Gilbert in relation to the
                prejudice Jordan suffered as a result of Gilbert’s erroneously
                admitted statement is misguided and irrelevant to this Court’s
                analysis of the prejudice Jordan actually suffered as a result of
                the improperly admitted evidence.

        The Magistrate Judge presumes this Objection IX.A, which comprises nearly six pages of

 text in the Objections (ECF No. 19, PageID 1590), is directed at the comparison of this case with

 State v. Kirk, 2010-Ohio-2006, 2010 Ohio App. LEXIS 1668 (6th Dist. May 7, 2010), which

 appears at ECF No. 16, PageID 1414. No further analysis is needed on this point.



 Objection X:

                The Report and Recommendations erroneously failed to
                consider the merits of Ground Four, which warrants relief for
                the reasons explained in Jordan’s Petition and Traverse.

 (Objections, ECF No. 19, PageID 1595.)

        For the reasons given in the Report (ECF No. 16, PageID 1415-19), the Magistrate Judge

 remains of the opinion that this Court should not reach the merits of Ground Four because it was

 procedurally defaulted. There is no requirement in habeas corpus law that the Court consider the

 merits of a claim in the alternative when the claim is found barred by procedural default.




                                                 29
Case: 1:14-cv-00068-MRB-MRM Doc #: 22 Filed: 04/22/16 Page: 30 of 32 PAGEID #: 1635




 Objection XI:

                 The Report and Recommendations erroneously failed to
                 consider the merits of Ground Five, which warrants relief for
                 the reasons explained in Jordan’s Petition and Traverse.

 (Objections, ECF No. 19, PageID 1597.)

        For the reasons given in the Report (ECF No. 16, PageID 1419-22), the Magistrate Judge

 remains of the opinion that this Court should not reach the merits of Ground Five because it was

 procedurally defaulted. There is no requirement in habeas corpus law that the Court consider the

 merits of a claim in the alternative when the claim is found barred by procedural default.



 Objection XII:

                 The Report and Recommendations erroneously failed to
                 consider the merits of Ground Six, Subclaim One, which
                 warrants relief for the reasons explained in Jordan’s Petition
                 and Traverse. Additionally, the Report and Recommendations
                 ruled contrary to and unreasonably applied applicable
                 Supreme Court precedent when it denied Jordan relief on the
                 merits of the remaining three subclaims, which warrant relief
                 for the reasons explained in Jordan’s Petition and Traverse.


 (Objections, ECF No. 19, PageID 1601.)

        For the reasons given above, the Magistrate Judge continues to be of the opinion that

 Ground Six, Subclaim One, was procedurally defaulted when it was omitted from the

 Memorandum in Support of Jurisdiction in the Ohio Supreme Court and that the decision of the

 First District on Subclaims Two, Four, and Five is neither contrary to nor an objectively

 unreasonable application of Strickland v. Washington, supra.




                                                 30
Case: 1:14-cv-00068-MRB-MRM Doc #: 22 Filed: 04/22/16 Page: 31 of 32 PAGEID #: 1636




 Objection XIII

                The Report and Recommendations is incorrect to suggest that
                reasonable jurists would agree with its conclusions such that
                an appeal would be objectively frivolous.


 (Objections, ECF No. 19, PageID 1602.)

        This Objection offers no argument as to why or how a reasonable jurist would disagree

 with the conclusions of the Report, but merely makes a summary argument, incorporating

 everything previously pled. As such it does not require separate analysis.



 Conclusion



        Having reconsidered the case in light of the Objections, the Magistrate Judge again

 respectfully recommends the Petition be dismissed with prejudice. Because Petitioner has not

 shown how or why reasonable jurists would disagree with this conclusion, Petitioner should be

 denied a certificate of appealability and the Court should certify to the Sixth Circuit that any

 appeal would be objectively frivolous and therefore should not be permitted to proceed in forma

 pauperis.



 April 22, 2016.

                                                                s/ Michael R. Merz
                                                               United States Magistrate Judge




                                                31
Case: 1:14-cv-00068-MRB-MRM Doc #: 22 Filed: 04/22/16 Page: 32 of 32 PAGEID #: 1637




                            NOTICE REGARDING OBJECTIONS



 Pursuant to Fed. R. Civ. P. 72(b), any party may serve and file specific, written objections to the
 proposed findings and recommendations within fourteen days after being served with this Report
 and Recommendations. Pursuant to Fed. R. Civ. P. 6(d), this period is extended to seventeen
 days because this Report is being served by one of the methods of service listed in Fed. R. Civ.
 P. 5(b)(2)(C), (D), (E), or (F). Such objections shall specify the portions of the Report objected
 to and shall be accompanied by a memorandum of law in support of the objections. If the Report
 and Recommendations are based in whole or in part upon matters occurring of record at an oral
 hearing, the objecting party shall promptly arrange for the transcription of the record, or such
 portions of it as all parties may agree upon or the Magistrate Judge deems sufficient, unless the
 assigned District Judge otherwise directs. A party may respond to another party=s objections
 within fourteen days after being served with a copy thereof. Failure to make objections in
 accordance with this procedure may forfeit rights on appeal. See United States v. Walters, 638
 F.2d 947, 949-50 (6th Cir. 1981); Thomas v. Arn, 474 U.S. 140, 153-55 (1985).




                                                 32
